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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                          Chapter 11

ASHINC CORPORATION, et al.,                     Case No. 12-11564 (CSS)

         Debtors.                               (Jointly Administered)

CATHERINE E. YOUNGMAN, LITIGATION
TRUSTEE FOR ASHINC CORPORATION, ET.
AL., AS SUCCESSOR TO THE OFFICIAL
COMMITTEE OF UNSECURED CREDITORS
OF ASHINC CORPORATION, AND ITS
AFFILIATED DEBTORS,
                Plaintiff,                      Bankruptcy Adv. Proc. No. 13-50530 (CSS)

BDCM OPPORTUNITY FUND II, LP, BLACK Civil Action No. 21-cv-1649-CFC
DIAMOND CLO 2005-1 LTD., and SPECTRUM
INVESTMENT PARTNERS, L.P.,

                             Intervenors,

                 v.

YUCAIPA AMERICAN ALLIANCE FUND I,
L.P., and YUCAIPA AMERICAN ALLIANCE
(PARALLEL) FUND I, L.P.,

                             Defendants.




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CATHERINE E. YOUNGMAN, LITIGATION
TRUSTEE FOR ASHINC CORPORATION, ET
AL., AS SUCCESSOR TO BDCM
OPPORTUNITY FUND II, LP, BLACK
DIAMOND CLO 2005-1 LTD., SPECTRUM
INVESTMENT PARTNERS, L.P., BLACK                      Bankruptcy Adv. Proc. No. 14-50971 (CSS)
DIAMOND COMMERCIAL FINANCE, L.L.C.,
as co-administrative agent, and SPECTRUM
COMMERCIAL FINANCE LLC, as co-                        Civil Action No. 21-cv-1650-CFC
administrative agent,

                             Plaintiff,

                 v.

YUCAIPA AMERICAN ALLIANCE FUND I,
L.P., and YUCAIPA AMERICAN ALLIANCE
(PARALLEL) FUND I, L.P.,

                             Defendants.

        STATUS REPORT REGARDING MOTIONS TO WITHDRAW REFERENCE


        Defendants-Appellants Yucaipa American Alliance Fund I, L.P., and Yucaipa American

Alliance (Parallel) Fund I, L.P., (collectively “Yucaipa” or “Defendants”), and Appellee-Plaintiff

Catherine E. Youngman, in her capacity as the Litigation Trustee and Plan Administrator (the

“Trustee” or ‘Plaintiff,” and together with the Defendants, the “Parties”) hereby submit this joint

status report providing an update to the Court on the status of above-captioned relevant

proceedings.

                                           STATUS REPORT

        1.       On February 1, 2013, the Official Committee of Unsecured Creditors in the

bankruptcy case filed a complaint initiating adversary proceeding number 13-50530, and an

amended complaint was filed on March 14, 2013, in the United States Bankruptcy Court for the

District of Delaware (the “Bankruptcy Court”).

        2.       On November 19, 2014, BDCM Opportunity Fund II, LP, Black Diamond CLO
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2005-1 Ltd., and Spectrum Investment Partners, L.P. filed a complaint initiating adversary

proceeding number 14-50971. Adversary proceeding numbers 13-50530 and 14-50971 are

collectively referred to herein as the “Adversary Proceedings.”

        3.       Under the Debtors’ Modified First Amended Joint Chapter 11 Plan of

Reorganization dated December 3, 2015, approved by the Bankruptcy Court, and the Litigation

Trust Agreement dated December 20, 2016, the Adversary Proceedings are now jointly prosecuted

by the Plaintiff.

        4.       Following briefing on cross motions for summary judgment, on May 4, 2021, the

Bankruptcy Court issued an opinion granting in part and denying in part, the Parties’ cross motions

for summary judgment on many of the claims asserted in the Adversary Proceedings. On June 23,

2021, the Bankruptcy Court entered a judgment implementing that ruling (the “2021 Judgment”)

[Adv. Pro. No. 13-50530, D.I. 841; Adv. Pro. No. 14-50971, D.I. 579].

        5.       Yucaipa filed a motion to stay the Judgment pending appeal, which the Bankruptcy

Court denied. On July 6, 2021, Yucaipa filed notices of appeal of the 2021 Judgment. Those

appeals are pending in this Court and docketed at Civil Action No. 21-cv-994 and 21-cv-995.1

Yucaipa also sought a stay of the 2021 Judgment pending appeal in this Court, but the motion was

denied [Civ. Action No. 21-cv-994, D.I. 35; Civ. Action No. 21-cv-995, D.I. 35].

        6.       On November 23, 2021, in anticipation of the upcoming scheduled trial, Defendants

filed motions to withdraw the reference in each of the Adversary Proceedings (the “Withdrawal

Motions”), which were docketed with this Court at Civ. Action No. 21-cv-1649, D.I. 1 and Civ.

Action No. 21-cv-1650, D.I. 1. No decision was issued by this Court on the Withdrawal Motions

before trial.


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 Separately, Yucaipa filed objections under Bankruptcy Rule 9033 to the Bankruptcy Court’s proposed findings of fact
and conclusions of law and recommendation in Adv. Pro. No. 14-50971, styled as an Opinion [14-50971, D.I. 563] and
Order [14-50971, D.I. 564]. That Rule 9033 proceeding is captioned in this Court at Civ. Action No. 21-cv-1060.

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        7.       The Bankruptcy Court conducted a trial on the remaining issues and claims asserted

in the complaints in the Adversary Proceedings over several days in March 2022.

        8.       On May 2, 2022, the Bankruptcy Court issued its Findings of Fact and

Conclusions of Law [Adv. Pro. No. 13-50530, D.I. 1006; Adv. Pro. No. 14-50971, D.I. 742]

and the 2022 Judgment (the “2022 Judgment”) [Adv. Pro. No. 13-50530, D.I. 1008; Adv. Pro.

No. 14-50971, D.I. 744] on the remaining claims in each of the Adversary Proceedings.

        9.       On May 12, 2022, the Trustee filed notices of appeal of the 2022 Judgment and

the appeals are now docketed in this Court at Civil Action Nos. 22-cv-634-CFC and 22-cv-

635-CFC.

        10.      With respect to the Withdrawal Motions pending before the Court in the above-

captioned actions, Yucaipa’s position is that the Motions are now moot and, by reason thereof,

shall withdraw the Withdrawal Motions.




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Dated: July 1, 2022

 FOX ROTHSCHILD LLP                         PACHULSKI STANG ZIEHL & JONES LLP

 /s/ Seth A. Niederman                      /s/ Peter J. Keane
 Seth A. Niederman (DE Bar No. 4588)        Laura Davis Jones (DE Bar No. 2436)
 Citizens Bank Center                       David M. Bertenthal (CA Bar No. 167624)
 919 N. Market Street, Suite 300            Peter J. Keane (DE Bar No. 5503)
 Wilmington, DE 19801                       919 N. Market Street, 17th Floor
 Telephone: (302) 654-7444                  P.O. Box 8705
 sniederman@foxrothschild.com               Wilmington, DE 19899-8705 (Courier 19801)
                                            Telephone: (302) 652-4100
 -and-                                      Fax: (302) 652-4400
                                            Email: ljones@pszjlaw.com
 JOSEPH HAGE AARONSON LLC                           dbertenthal@pszjlaw.com
 Gregory P. Joseph                                  pkeane@pszjlaw.com
 Gila S. Singer
 485 Lexington Avenue, 30th Floor           -and-
 New York, NY 10017
 Telephone: (212) 407-1200                  GLASER WEIL FINK HOWARD AVCHEN &
 gjoseph@jhany.com                          SHAPIRO LLP
                                            Patricia L. Glaser (admitted pro hac vice)
 -and-                                      Gali Grant (admitted pro hac vice)
                                            Matthew P. Bernstein (admitted pro hac vice)
 ZAIGER LLC                                 10250 Constellation Blvd.
 Jeffrey H. Zaiger                          19th Floor
 Judd A. Lindenfeld                         Los Angeles, CA 90067
 2187 Atlantic Street, 9th Floor            Telephone: (310) 553-3000
 Stamford, CT 06902                         Fax: (310) 556-2920
 Telephone: (917) 572-7701                  Email: pglaser@glaserweil.com
 jzaiger@zaigerllc.com                             ggrant@glaserweil.com
                                                   mbernstein@glaserweil.com
 -and-
                                            Counsel for Yucaipa
 COHEN AND GRESSER LLP
 Douglas J. Pepe
 800 Third Avenue
 New York, NY 10022
 Telephone: (212) 957-7605
 dpepe@cohengresser.com
 Counsel for the Trustee




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